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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 NATALIE REESER,
                                               Case No. 2:14-cv-11916-GCS-MJH
              Plaintiff,                       Hon. George Caram Steeh
 v

 HENRY FORD HEALTH SYSTEM
 d/b/a HENRY FORD HOSPITAL,

              Defendant.

 MILLER COHEN, P.L.C.                        VARNUM LLP
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 Adam C. Graham (P79361)                     Barbara E. Buchanan (P55084)
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 (313) 964-4454                              (313) 481-7300

      DEFENDANT'S MOTION TO STRIKE PLAINTIFF'S CLAIM FOR
     PUNITIVE DAMAGES OR IN THE ALTERNATIVE, IN LIMINE TO
     EXCLUDE ANY EVIDENCE RELATING TO PUNITIVE DAMAGES

       NOW COMES Defendant, Henry Ford Health System ("HFHS"), by and

 through its attorneys, Varnum LLP, and respectfully moves this Court for an Order

 striking Plaintiff Nicole Reeser's ("Plaintiff") claim for punitive damages, or in the

 alternative, excluding any evidence relating to punitive damages, because there is

 no authority in the Sixth Circuit supporting an award of punitive damages, and the

 plain language of the Fair Labor Standards Act does not allow for punitive

 damages. Any such testimony regarding punitive damages would therefore be
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 irrelevant and excludable. In support of their Motion, HFHS relies on the facts,

 analysis and case law set forth in the brief accompanying this Motion.

       In accordance with Local Rule 7.1, on March 7, 2016, Defendant's counsel

 sought concurrence from Plaintiff's counsel, which was denied, thereby

 necessitating the filing of this Motion.

       WHEREFORE, for the reasons stated herein and as set forth more fully in

 the accompanying Brief, Defendant Henry Ford Health System respectfully

 requests that this Court grant its Motion, and strike Plaintiff's claim for punitive

 damages, and exclude all arguments and evidence relating thereto as irrelevant.

                                            Respectfully submitted,

                                            VARNUM LLP

                                            By:   /s/ Terrence J. Miglio
                                                  Terrence J. Miglio (P30541)
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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 NATALIE REESER,
                                         Case No. 2:14-cv-11916-GCS-MJH
             Plaintiff,                  Hon. George Caram Steeh
 v                                       Magistrate Judge Michael Hluchaniuk

 HENRY FORD HEALTH SYSTEM
 d/b/a HENRY FORD HOSPITAL,

             Defendant.

 MILLER COHEN, P.L.C.                   VARNUM LLP
 Keith D. Flynn (P74192)                Terrence J. Miglio (P30541)
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       BRIEF IN SUPPORT OF DEFENDANT'S MOTION TO STRIKE
       PLAINTIFF'S CLAIM FOR PUNITIVE DAMAGES OR IN THE
       ALTERNATIVE, IN LIMINE TO EXCLUDE ANY EVIDENCE
                 RELATING TO PUNITIVE DAMAGES
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                     STATEMENT OF ISSUE PRESENTED

        Should this Court enter an Order striking Plaintiff's claim for punitive
 damages and excluding any evidence related thereto, because there is no authority
 in the Sixth Circuit supporting an award of punitive damages pursuant to the anti-
 retaliation provision of the Fair Labor Standards Act, and the plain language of the
 Act does not allow for punitive damages?

       Defendant answers               "Yes."




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                                 INTRODUCTION

       In addition to lost wages and other compensatory damages, Plaintiff seeks

 punitive damages pursuant to her retaliation claim under the Fair Labor Standards

 Act ("FLSA"). Defendant Henry Ford Health System ("HFHS") now moves this

 Court for an order striking Plaintiff's claim for punitive damages and/or excluding

 any evidence related to punitive damages because there is no authority in the Sixth

 Circuit supporting an award of punitive damages, and the plain language of the Act

 does not allow for punitive damages.

                     STATEMENT OF RELEVANT FACTS

       On May 16, 2011, Plaintiff Nicole Reeser was hired as a full-time laboratory

 assistant or "Laboratory Service Representative" in the       Laboratory Outreach

 Services division of HFHS.      (Ex. 1, Offer Letter)    As a Laboratory Service

 Representative, Plaintiff essentially performed the duties of a phlebotomist. She

 drew blood, processed samples and registered patients, among other duties.

       After her termination, on May 13, 2014, Plaintiff filed a lawsuit alleging

 retaliation in violation of the Fair Labor Standards Act ("FLSA") and the Michigan

 Whistleblower's Protection Act. (ECF Dkt. #1) Plaintiff seeks damages in the

 form of front and back pay, liquidated damages and damages for "extreme mental

 and emotional distress, lack of health care, depression and anxiety." See Joint

 Final Pretrial Order, Dkt. #66 p. 60. Plaintiff also seeks punitive damages. (Id.)
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                                    ARGUMENT

       Federal district courts have the power to exclude evidence pursuant to their

 inherent authority to manage trials. See, e.g., U. S. v. Yannott, 42 F.3d 999, 1007

 (6th Cir. 1994).    Here, the Court should strike Plaintiff's claim for punitive

 damages and exclude any evidence relating thereto, for the reasons set forth below.

       Section 216(b) of the FLSA provides:

           [a]ny employer who violates the provisions of section
           206 or section 207 of this title shall be liable to the employee or
           employees affected in the amount of their unpaid minimum wages,
           or their unpaid overtime compensation, as the case may be, and in
           an additional equal amount as liquidated damages. Any employer
           who violates the provisions of section 215(a)(3) [the anti-
           retaliation provision] of this title shall be liable for such legal or
           equitable relief as may be appropriate to effectuate the purposes
           of section 215(a)(3) of this title, including without limitation
           employment, reinstatement, promotion, and the payment of wages
           lost and an additional equal amount as liquidated damages.

 See 29 U.S.C. § 216(b) (emphasis added).

       The Sixth Circuit has not ruled on the issue as to whether punitive damages

 are available under the FLSA nor have the courts in the Eastern District of

 Michigan.1    However, a decision of the Eleventh Circuit is instructive and




       1
        In Moore v. Freeman, 355 F.3d 558 (6th Cir. 2004), the Court
 acknowledged a split in the circuits as to whether the FLSA permits punitive
 damages, but did not decide whether punitive damages are available under the
 FLSA.


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 applicable here.2 The Eleventh Circuit in Snapp v. Unlimited Concepts, Inc., 208

 F.3d 928 (11th Cir. 2000), considered whether punitive damages were available in

 a lawsuit alleging retaliation pursuant to the §216 of the FLSA. In Snapp, the

 plaintiff complained that while working for the defendant employer, he was denied

 minimum wages, overtime wages, and retaliated against in violation of the FLSA.

 He sought compensatory and punitive damages for his alleged retaliatory

 discharge. The jury awarded the plaintiff punitive damages. The district court

 struck the award of punitive damages. Plaintiff appealed to the Eleventh Circuit,

 which affirmed the ruling of the District Court.

       In reaching its decision that the plaintiff was not entitled to punitive

 damages as part of the "legal relief" contemplated by the FLSA, the Eleventh

 Circuit looked first at the plain language of the Act. It determined that the forms

 of relief enumerated in the Act were meant to compensate the plaintiff. By

 providing for awards of unpaid minimum wages, unpaid overtime compensation,

 reinstatement, promotion, and the payment of lost wages, Section 216 attempts to

 put the plaintiff in the place he would have been absent the employer's misconduct.

 The Court held:




       2
           Only the Seventh and Eleventh Circuits have ruled on this issue.


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           Given that the evident purpose of section 216(b) is compensation,
           we reject plaintiff's argument that "legal relief" includes punitive
           damages. When so broad a term as "legal relief" is included in a
           statutory provision that delineates more specific forms of redress,
           the judicial mind naturally turns to the principle of ejusdem
           generis. We must interpret "a general statutory term ... in light of
           the specific terms that surround it." Hughey v. United States, 495
           U.S. 411, 419, 110 S.Ct. 1979, 1984, 109 L.Ed.2d 408 (1990). It is
           clear that all of the relief provided in section 216(b) is
           compensatory in nature. Punitive damages, however, have nothing
           to do with compensation. Punitive damages are generally available
           for willful or intentional violations of a common law or statutory
           duty, and their purpose is to punish and deter the wrongdoer rather
           than to compensate the aggrieved party. Therefore, punitive
           damages would be out of place in a statutory provision aimed at
           making the plaintiff whole.

 See Snapp, 208 F.3d at 934 (emphasis added).

       The Snapp Court noted that, to the extent a plaintiff was seeking punitive

 sanctions, the language of §216(a) of the FLSA provides for punitive sanctions, in

 the form of fines and imprisonment for willful violations: "Congress did not

 “leave out” punitive sanctions in the FLSA; it merely addressed them in a different

 manner." Id. at 939.3

       As the United States Supreme Court has explained, "it is an elemental canon

 of statutory construction that where a statute expressly provides a particular


       3
         The Seventh Circuit, in Travis v. Gary Community Mental Health Center,
 Inc., 921 F.2d 108 (7th Cir. 1991), which concluded that punitive damages are
 available under the FLSA, is not persuasive. The Travis court's limited analysis
 relied upon the "legal and equitable relief . . . without limitation" language of
 §216(b).


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 remedy or remedies, a court must be chary of reading others into it."

 Transamerica Mortgage Advisors, Inc. v. Lewis, 444 U.S. 11, 19, 100 S. Ct. 242,

 247, 62 L.Ed.2d 146 (1979). Further, "[t]he federal judiciary will not engraft a

 remedy on a statute, no matter how salutary, that Congress did not intend to

 provide." California v. Sierra Club, 451 U.S. 287, 297, 101 S. Ct. 1775, 1781, 68

 L.Ed.2d 101 (1981). In §216, Congress could have – but did not – include punitive

 damages in the list of available remedies.

       Numerous district courts have also held that punitive damages are not

 available under the FLSA's anti-retaliation provision. See, e.g., Allen v. Garden

 City Co–Op, Inc., 651 F. Supp. 2d 1249 (D. Kan. 2009) (holding punitive damages

 unavailable under FLSA’s anti-retaliation provision); Johnston v. Davis Sec., Inc.,

 217 F. Supp. 2d 1224 (D. Utah 2002) (same); Huang v. Gateway Hotel Holdings,

 520 F. Supp. 2d 1137 (E.D. Mo. 2007) (same); Lanza v. Sugarland Run

 Homeowners Ass’n, Inc., 97 F. Supp. 2d 737 (E.D. Va. 2000) (same);

 Waldermeyer v. ITT Consumer Fin. Corp., 782 F. Supp. 86 (E.D. Mo. 1991)

 (same).

       There is no authority in the Sixth Circuit that would allow Plaintiff to seek

 punitive damages pursuant to the FLSA, and the Act itself is silent as to such relief.

 Therefore, Plaintiff's punitive damages claim should be dismissed and all evidence

 pertaining to punitive damages should be excluded as irrelevant. See Fed. R. Evid.



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 401, 2012 and 403.4

                                  CONCLUSION

       The Court should enter an for an Order striking Plaintiff's claim for punitive

 damages claim and preventing Plaintiff from introducing any evidence pertaining

 to punitive damages.

                                        Respectfully submitted,

                                        VARNUM, LLP

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 Dated: March 7, 2016




       4
         Evidence is relevant if: (a) it has any tendency to make a fact more or less
 probable than it would be without the evidence; and (b) the fact is of consequence
 in determining the action." Fed. R. Evid. 401. "Irrelevant evidence is not
 admissible." Fed. R. Evid. 402. "The court may exclude relevant evidence if its
 probative value is substantially outweighed by a danger of one or more of the
 following: unfair prejudice, confusing the issues, misleading the jury . . ." Fed. R.
 Evid. 403.


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                        CERTIFICATE OF SERVICE
             I hereby certify that on March 7, 2016, I electronically
             filed the foregoing paper with the Clerk of the Court
             using the ECF system which will send notification of
             such filing to all parties of record.

                               /s/ Terrence J. Miglio
                           Terrence J. Miglio (P30541)




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